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                                 Google LLC
                               7

                               8                                UNITED STATES DISTRICT COURT

                               9               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                            10

                            11 PAUL GARRISON,                                           Case No. 3:22-cv-01426-JSC

                            12                    Plaintiff,                            DEFENDANT ALPHABET INC.’S AND
                                                                                        GOOGLE LLC’S CASE MANAGEMENT
                            13           vs.                                            STATEMENT

                            14 ALPHABET INC., GOOGLE LLC, OUTTEN                        The Hon. Jacqueline Scott Corley
                               & GOLDEN LLP, WAYNE N. OUTTEN,
                            15 ANNE GOLDEN, JUSTIN SWARTZ,                              Amended Complaint Filed: March 14, 2022
                               MELISSA WASHINGTON, BRIAN LEE
                            16 JOHNSRUD, CURLEY, HURTGEN &
                               JOHNSRUD LLP, CIERRA GROSS and
                            17 DOES 1-50, inclusive,

                            18                    Defendants.

                            19
                            20           Defendants Alphabet Inc. and Google LLC, by and through their undersigned counsel,
                            21 submit this case management statement as follows:

                            22           The Parties to this matter have reached an agreement in principle to settle this litigation
                            23 after mediation and are now finalizing a formal settlement agreement. The Parties apologize for

                            24 not submitting a case management statement earlier, but had anticipated that the settlement

                            25 agreement would be signed and the case dismissed by the case management statement deadline.

                            26 However, due to the large number of parties involved, that process has taken somewhat longer

                            27 than expected. The parties expect to sign a settlement agreement very soon, after which the case

                            28 will be dismissed.
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                               1 Dated: June 17, 2022               FARELLA BRAUN + MARTEL LLP

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                                                                    By:         /s/ Anthony P. Schoenberg
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                                                                          Anthony P. Schoenberg
                               4
                                                                    Attorneys for Defendants Alphabet Inc. and
                               5                                    Google LLC
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